Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SquareOne Services, SPC

2.   All other names debtor
     used in the last 8 years
                                  DBA Square One Recovery
     Include any assumed          DBA Square One
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  21300 68th Ave W, Suite 105                                     PO Box 5195
                                  Lynnwood, WA 98036                                              Lynnwood, WA 98046
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Snohomish                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    SquareOne Services, SPC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6214

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    SquareOne Services, SPC                                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                       Other      Medical Records
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?

                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   SquareOne Services, SPC                                                    Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 23-10943-MLB          Doc 1      Filed 05/23/23          Ent. 05/23/23 11:01:37            Pg. 4 of 38
Debtor    SquareOne Services, SPC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 22, 2023
                                                  MM / DD / YYYY


                             X   /s/ Jessica Whitehead                                                    Jessica Whitehead
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO/President




18. Signature of attorney    X   /s/ Jamie J. McFarlane WSBA                                               Date May 22, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jamie J. McFarlane WSBA #41320
                                 Printed name

                                 The Tracy Law Group PLLC
                                 Firm name

                                 1601 Fifth Ave. Ste 610
                                 Seattle, WA 98101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     206-624-9894                  Email address


                                 WSBA #41320 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         SquareOne Services, SPC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 22, 2023                    X /s/ Jessica Whitehead
                                                           Signature of individual signing on behalf of debtor

                                                            Jessica Whitehead
                                                            Printed name

                                                            CEO/President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




            Case 23-10943-MLB                    Doc 1        Filed 05/23/23            Ent. 05/23/23 11:01:37              Pg. 6 of 38
 Fill in this information to identify the case:

 Debtor name            SquareOne Services, SPC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF WASHINGTON

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            90,666.05

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            90,666.05


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            34,056.13

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           296,142.46


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             330,198.59




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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                 Case 23-10943-MLB                                     Doc 1              Filed 05/23/23                         Ent. 05/23/23 11:01:37                            Pg. 7 of 38
Fill in this information to identify the case:

Debtor name         SquareOne Services, SPC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Wells Fargo                                       Checking                              4038                                             $0.00




          3.2.     US Bank                                           Checking                              2038                                             $0.00




          3.3.     Verity Credit Union                               Checking                              5200                                             $0.00




          3.4.     Verity Credit Union                               Savings                               5190                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1



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Debtor           SquareOne Services, SPC                                                    Case number (If known)
                 Name



7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Secured Credit Card with Wells Fargo                                                                                     $488.10



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                               $488.10
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                       102,125.11      -                           80,575.94 =....                       $21,549.17
                                        face amount                           doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                           $21,549.17
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used     Current value of
                                                                           debtor's interest         for current value         debtor's interest
                                                                           (Where available)

39.       Office furniture

Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 2



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Debtor        SquareOne Services, SPC                                                        Case number (If known)
              Name



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           Tools, equpiment, and furniture located in
           storage unit at 18926 Hwy 99, Lynnwood, WA
           98036                                                                           $0.00     Liquidation                          $38,844.46



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                              $38,844.46
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used      Current value of
                                                                          debtor's interest          for current value          debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Intellectual Property                                                           $0.00     Liquidation                           $3,464.32



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Licenses                                                                        $0.00     Liquidation                           Unknown



63.        Customer lists, mailing lists, or other compilations


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 3



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Debtor        SquareOne Services, SPC                                                      Case number (If known)
              Name

64.        Other intangibles, or intellectual property
           Electronic Medical Software Platform                                          $0.00     Liquidation                       $26,320.00



65.        Goodwill

66.        Total of Part 10.                                                                                                      $29,784.32
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Damages claim due to wrongful conduct                                                                                      Unknown
           Nature of claim
           Amount requested                                         $0.00



75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

78.        Total of Part 11.                                                                                                            $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4



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Debtor     SquareOne Services, SPC                                    Case number (If known)
           Name


          Yes




Official Form 206A/B                   Schedule A/B Assets - Real and Personal Property                       page 5



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Debtor          SquareOne Services, SPC                                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                      $488.10

82. Accounts receivable. Copy line 12, Part 3.                                                                     $21,549.17

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $38,844.46

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                  $29,784.32

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $90,666.05          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $90,666.05




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6



              Case 23-10943-MLB                             Doc 1            Filed 05/23/23                   Ent. 05/23/23 11:01:37                  Pg. 13 of 38
Fill in this information to identify the case:

Debtor name          SquareOne Services, SPC

United States Bankruptcy Court for the:            WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Lien Solutions                               Describe debtor's property that is subject to a lien                     Unknown                 $26,320.00
       Creditor's Name                              Electronic Medical Software Platform
       PO Box 29071
       Glendale, CA 91209
       Creditor's mailing address                   Describe the lien
                                                    UCC Financing Statement
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1




              Case 23-10943-MLB                        Doc 1          Filed 05/23/23                Ent. 05/23/23 11:01:37            Pg. 14 of 38
Fill in this information to identify the case:

Debtor name        SquareOne Services, SPC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $26,881.92          Unknown
          IRS                                                 Check all that apply.
          Centralized Insolvency Ops                             Contingent
          POB 7346                                               Unliquidated
          Philadelphia, PA 19101-7346                            Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2022                                                Payroll Taxes owed
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,988.70         Unknown
          WA Dept of L&I                                      Check all that apply.
          Collections                                            Contingent
          POB 44171                                              Unliquidated
          Olympia, WA 98504                                      Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2022 - Q2 - Q4                                      Worker's Compensation
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 6
                                                                                                              37479



             Case 23-10943-MLB                       Doc 1        Filed 05/23/23                   Ent. 05/23/23 11:01:37                Pg. 15 of 38
Debtor       SquareOne Services, SPC                                                                    Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $1,666.20   Unknown
          WA Dept of Revenue                                   Check all that apply.
          Bankruptcy & Claims Unit                                Contingent
          2101 4th Ave #1400                                      Unliquidated
          Seattle, WA 98121                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022                                                 Income
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $3,448.85   Unknown
          WA Empl Security Dept                                Check all that apply.
          UI Tax Admin                                            Contingent
          POB 9046                                                Unliquidated
          Olympia, WA 98507                                       Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2022 - Q2 - Q4                                       SUI & FMLA
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.5       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                         $70.46    $70.46
          Washington Courts                                    Check all that apply.
          PO Box 41172                                            Contingent
          Olympia, WA 98504                                       Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2/1/2023                                             Past due amount

          Last 4 digits of account number SQZ$                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $6,440.19
          Angela Luani                                                           Contingent
          24843 45th Ave W, #R202                                                Unliquidated
          Kent, WA 98032                                                         Disputed
          Date(s) debt was incurred 11/2022
                                                                             Basis for the claim:     Employee payroll
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $203,923.54
          Apregan Family Living Trust                                            Contingent
          PO Box 2184                                                            Unliquidated
          Sisters, OR 97759                                                      Disputed
          Date(s) debt was incurred 12/1/2018
                                                                             Basis for the claim:     Term Financing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 6




             Case 23-10943-MLB                       Doc 1         Filed 05/23/23                   Ent. 05/23/23 11:01:37                         Pg. 16 of 38
Debtor      SquareOne Services, SPC                                                         Case number (if known)
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $3,970.80
         Business Impact NW                                           Contingent
         12720 Gateway Dr, #207                                       Unliquidated
         Tukwila, WA 98168                                            Disputed
         Date(s) debt was incurred 1/7/2019
                                                                   Basis for the claim:    Term Financing
         Last 4 digits of account number 0354
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $12,357.94
         Business Impact NW                                           Contingent
         12720 Gateway Dr, #207                                       Unliquidated
         Tukwila, WA 98168                                            Disputed
         Date(s) debt was incurred 1/7/2019
                                                                   Basis for the claim:    Term Financing
         Last 4 digits of account number 2200
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              Unknown
         Cyrstal Springs                                              Contingent
         200 Eagles Landing Blvd                                      Unliquidated
         Lakeland, FL 33810                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Notice Only - Collection company
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              Unknown
         Esquire Bank                                                 Contingent
         PO Box 778                                                   Unliquidated
         Alpharetta, GA 30009                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Merchant Fee Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $24,166.65
         Flexibility Capital, Inc.                                    Contingent
         1501 Broadway, Suite 1511                                    Unliquidated
         New York, NY 10036                                           Disputed
         Date(s) debt was incurred 11/9/2022
                                                                   Basis for the claim:    Short-term financing
         Last 4 digits of account number 8774
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $221.16
         Frontpoint Security                                          Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number   5484                    Basis for the claim:    Security Services
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $8,712.50
         Fundbox                                                      Contingent
         6900 Dallas Parkway, Suite 700                               Unliquidated
         Plano, TX 75024                                              Disputed
         Date(s) debt was incurred 6/8/2022
                                                                   Basis for the claim:    Short-term Financing
         Last 4 digits of account number 6632
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 6




             Case 23-10943-MLB                    Doc 1     Filed 05/23/23              Ent. 05/23/23 11:01:37                           Pg. 17 of 38
Debtor      SquareOne Services, SPC                                                         Case number (if known)
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,142.82
         Insync Healtcare Solutions                                   Contingent
         8401 Benjamin Rd                                             Unliquidated
         Tampa, FL 33634                                              Disputed
         Date(s) debt was incurred 2/1/2023
                                                                   Basis for the claim:    Past due invoice
         Last 4 digits of account number 1246
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $5,914.46
         Intuit Payroll                                               Contingent
         c/o Greenberg, Grant & Richard                               Unliquidated
         5858 Westheimer, Ste 500                                     Disputed
         Houston, TX 77057
                                                                   Basis for the claim:    Payroll Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $11,763.57
         Kapitus, LLC                                                 Contingent
         2500 Wilson Blvd, Ste 350                                    Unliquidated
         Arlington, VA 22201                                          Disputed
         Date(s) debt was incurred 9/2/2022
                                                                   Basis for the claim:    Short-term Financing
         Last 4 digits of account number 9421
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              Unknown
         Leiter, Allen and Margo                                      Contingent
         10730 Vernon Road                                            Unliquidated
         Lake Stevens, WA 98258                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Lease Default
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $6,264.23
         Michael Waldfogel                                            Contingent
         823 18th Ave                                                 Unliquidated
         Seattle, WA 98122                                            Disputed
         Date(s) debt was incurred   11/2022                       Basis for the claim:    Employee payroll
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $439.54
         Microsoft                                                    Contingent
         One Microsoft Way                                            Unliquidated
         Redmond, WA 98052                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Past due invoice
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              Unknown
         Seattle Econ. Development Fund                               Contingent
         1437 South Jackson Street                                    Unliquidated
         Seattle, WA 98144                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Unsecured loan - Notice Only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 6




             Case 23-10943-MLB                  Doc 1       Filed 05/23/23              Ent. 05/23/23 11:01:37                           Pg. 18 of 38
Debtor       SquareOne Services, SPC                                                                Case number (if known)
             Name

3.17      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                    $617.19
          Snohomish County PUD                                                Contingent
          POB 1100                                                            Unliquidated
          Everett, WA 98206                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Past due invoice
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.18      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $3,361.10
          Stefanie Benningfield                                               Contingent
          4280 E Lake Sammamish Pkwy                                          Unliquidated
          Sammamish, WA 98075                                                 Disputed
          Date(s) debt was incurred 11/2022
                                                                           Basis for the claim:    Employee payroll
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.19      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 Unknown
          SurePayroll                                                         Contingent
          2350 Ravine Way Suite 100                                           Unliquidated
          Glenview, IL 60025                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Payroll Services
          Last 4 digits of account number   8005
                                                                           Is the claim subject to offset?         No    Yes

3.20      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $1,339.32
          Tandem Finance, Inc.                                                Contingent
          3801 Automation Way, Ste 207                                        Unliquidated
          Fort Collins, CO 80525                                              Disputed
          Date(s) debt was incurred 2/10/2021
                                                                           Basis for the claim:    Equipment Financing
          Last 4 digits of account number 9774
                                                                           Is the claim subject to offset?         No    Yes

3.21      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                    $507.45
          Wells Fargo                                                         Contingent
          POB 522                                                             Unliquidated
          Des Moines, IA 50306                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Credit Card
          Last 4 digits of account number   7779
                                                                           Is the claim subject to offset?         No    Yes

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 Unknown
          Wells Fargo                                                         Contingent
          POB 522                                                             Unliquidated
          Des Moines, IA 50306                                                Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Overdrawn balance
          Last 4 digits of account number   4038
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                    related creditor (if any) listed?                 account number, if
                                                                                                                                                      any
4.1       Civil Process Clerk
          US Attorney's Office                                                                      Line     2.1
          700 Stewart St, Suite 5220
                                                                                                           Not listed. Explain
          Seattle, WA 98101

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 6




             Case 23-10943-MLB                      Doc 1         Filed 05/23/23                Ent. 05/23/23 11:01:37                           Pg. 19 of 38
Debtor      SquareOne Services, SPC                                                     Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                       related creditor (if any) listed?              account number, if
                                                                                                                                      any
4.2       IRS Special Procedures
          915 Second Ave                                                               Line     2.1
          Seattle, WA 98174
                                                                                              Not listed. Explain

4.3       Nguyen Ballato
          2201 Libbie Ave                                                              Line     3.12
          Richmond, VA 23230
                                                                                              Not listed. Explain

4.4       US Attorney General
          US Dept of Justice                                                           Line     2.1
          950 Pennsylvania Ave NW
                                                                                              Not listed. Explain
          Washington, DC 20530

4.5       WA Atty General
          Bankruptcy & Collection Unit                                                 Line     2.3
          800 Fifth Ave #2000
                                                                                              Not listed. Explain
          Seattle, WA 98104

4.6       WA Atty General
          Bankruptcy & Collection Unit                                                 Line     2.4
          800 Fifth Ave #2000
                                                                                              Not listed. Explain
          Seattle, WA 98104

4.7       WA Atty General
          Bankruptcy & Collection Unit                                                 Line     2.2
          800 Fifth Ave #2000
                                                                                              Not listed. Explain
          Seattle, WA 98104


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                     34,056.13
5b. Total claims from Part 2                                                              5b.    +     $                    296,142.46

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                      330,198.59




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 6




             Case 23-10943-MLB                  Doc 1        Filed 05/23/23         Ent. 05/23/23 11:01:37                       Pg. 20 of 38
Fill in this information to identify the case:

Debtor name       SquareOne Services, SPC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease for Phones and
           lease is for and the nature of        Internet
           the debtor's interest

               State the term remaining
                                                                                    Comcast Business
           List the contract number of any                                          9602 S 300 W, Ste B
                 government contract                                                Sandy, UT 84070


2.2.       State what the contract or            Mobile Phone Plan
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Comcast Business Mobile
           List the contract number of any                                          1701 John F. Kennedy Blvd
                 government contract                                                Philadelphia, PA 19103


2.3.       State what the contract or            Commercial Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Leiter, Allen and Margo
           List the contract number of any                                          10730 Vernon Road
                 government contract                                                Lake Stevens, WA 98258




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1




            Case 23-10943-MLB                    Doc 1       Filed 05/23/23            Ent. 05/23/23 11:01:37                  Pg. 21 of 38
Fill in this information to identify the case:

Debtor name      SquareOne Services, SPC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Jessica                     16228 Corliss Pl N                                        Leiter, Allen and                  D
          Whitehead                   Seattle, WA 98133                                         Margo                              E/F       3.13
                                                                                                                                   G




   2.2    Jessica                     16228 Corliss Pl N                                        Esquire Bank                       D
          Whitehead                   Seattle, WA 98133                                                                            E/F       3.6
                                                                                                                                   G




   2.3    Jessica                     16228 Corliss Pl N                                        Kapitus, LLC                       D
          Whitehead                   Seattle, WA 98133                                                                            E/F       3.12
                                                                                                                                   G




   2.4    Jessica                     16228 Corliss Pl N                                        Flexibility Capital,               D
          Whitehead                   Seattle, WA 98133                                         Inc.                               E/F       3.7
                                                                                                                                   G




   2.5    Jessica                     16228 Corliss Pl N                                        Tandem Finance, Inc.               D
          Whitehead                   Seattle, WA 98133                                                                            E/F       3.20
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2



           Case 23-10943-MLB                     Doc 1    Filed 05/23/23            Ent. 05/23/23 11:01:37                Pg. 22 of 38
Debtor    SquareOne Services, SPC                                                 Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 2 of 2



          Case 23-10943-MLB               Doc 1       Filed 05/23/23        Ent. 05/23/23 11:01:37             Pg. 23 of 38
Fill in this information to identify the case:

Debtor name         SquareOne Services, SPC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                     Operating a business                               $260,898.04
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $363,617.88
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

      For year before that:
      From 1/01/2021 to 12/31/2021                                                    Grants                                                   $17,055.31


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1




             Case 23-10943-MLB                   Doc 1      Filed 05/23/23             Ent. 05/23/23 11:01:37                 Pg. 24 of 38
Debtor       SquareOne Services, SPC                                                             Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                       Describe of the Property                                        Date                    Value of property

      Leiter, Allen and Margo                           Commercial Property Lease                                       12/1/2022                    $21,827.48
      10730 Vernon Road
      Lake Stevens, WA 98258


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                       Description of the action creditor took                         Date action was                  Amount
                                                                                                                        taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                 Nature of case              Court or agency's name and                 Status of case
             Case number                                                            address
      7.1.   Kapitus Servicing, Inc. v.                 Breach of                   Commonwealth of Virginia                        Pending
             SquareOne Services SPC                     Contract                    Henrico County                                  On appeal
                                                                                    4309 E Parham Rd
                                                                                                                                    Concluded
                                                                                    Henrico, VA 23273


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address               Description of the gifts or contributions                 Dates given                              Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
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Debtor        SquareOne Services, SPC                                                             Case number (if known)




          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    The Tracy Law Group PLLC
               1601 Fifth Ave. Ste 610
               Seattle, WA 98101                         Attorney Fees                                                 2/20/2023                  $5,000.00

               Email or website address


               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Public Storage                                         Jennifer Whitehead                    Business Furniture and                         No
      18926 Hwy 99                                                                                 Equipment                                      Yes
      Lynnwood, WA 98036



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Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To

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Debtor      SquareOne Services, SPC                                                             Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Toyer Wealth Management



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                   Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jessica Whitehead                                                                           Owner                                     100




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient           Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?



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Debtor      SquareOne Services, SPC                                                         Case number (if known)




           No
           Yes. Identify below.

   Name of the parent corporation                                                                  Employer Identification number of the parent
                                                                                                   corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                        Employer Identification number of the pension
                                                                                                   fund




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Debtor      SquareOne Services, SPC                                                             Case number (if known)




Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 22, 2023

/s/ Jessica Whitehead                                           Jessica Whitehead
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO/President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Western District of Washington
 In re       SquareOne Services, SPC                                                                          Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     5,000.00
             Prior to the filing of this statement I have received                                        $                     5,000.00
             Balance Due                                                                                  $                        0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, contested relief from stay
             actions or any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 22, 2023                                                             /s/ Jamie J. McFarlane WSBA
     Date                                                                     Jamie J. McFarlane WSBA #41320
                                                                              Signature of Attorney
                                                                              The Tracy Law Group PLLC
                                                                              1601 Fifth Ave. Ste 610
                                                                              Seattle, WA 98101
                                                                              206-624-9894 Fax: 206-624-8598
                                                                              Name of law firm




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                                               United States Bankruptcy Court
                                                   Western District of Washington
 In re   SquareOne Services, SPC                                                                Case No.
                                                                    Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO/President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




Date:     May 22, 2023                                  /s/ Jessica Whitehead
                                                        Jessica Whitehead/CEO/President
                                                        Signer/Title




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                        ANGELA LUANI
                        24843 45TH AVE W, #R202
                        KENT, WA 98032


                        APREGAN FAMILY LIVING TRUST
                        PO BOX 2184
                        SISTERS, OR 97759


                        BUSINESS IMPACT NW
                        12720 GATEWAY DR, #207
                        TUKWILA, WA 98168


                        CIVIL PROCESS CLERK
                        US ATTORNEY'S OFFICE
                        700 STEWART ST, SUITE 5220
                        SEATTLE, WA 98101


                        COMCAST BUSINESS
                        9602 S 300 W, STE B
                        SANDY, UT 84070


                        CYRSTAL SPRINGS
                        200 EAGLES LANDING BLVD
                        LAKELAND, FL 33810


                        ESQUIRE BANK
                        PO BOX 778
                        ALPHARETTA, GA 30009


                        FLEXIBILITY CAPITAL, INC.
                        1501 BROADWAY, SUITE 1511
                        NEW YORK, NY 10036


                        FRONTPOINT SECURITY



                        FUNDBOX
                        6900 DALLAS PARKWAY, SUITE 700
                        PLANO, TX 75024


                        INSYNC HEALTCARE SOLUTIONS
                        8401 BENJAMIN RD
                        TAMPA, FL 33634




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                    INTUIT PAYROLL
                    C/O GREENBERG, GRANT & RICHARD
                    5858 WESTHEIMER, STE 500
                    HOUSTON, TX 77057


                    IRS
                    CENTRALIZED INSOLVENCY OPS
                    POB 7346
                    PHILADELPHIA, PA 19101-7346


                    IRS SPECIAL PROCEDURES
                    915 SECOND AVE
                    SEATTLE, WA 98174


                    JESSICA WHITEHEAD
                    16228 CORLISS PL N
                    SEATTLE, WA 98133


                    KAPITUS, LLC
                    2500 WILSON BLVD, STE 350
                    ARLINGTON, VA 22201


                    LEITER, ALLEN AND MARGO
                    10730 VERNON ROAD
                    LAKE STEVENS, WA 98258


                    LIEN SOLUTIONS
                    PO BOX 29071
                    GLENDALE, CA 91209


                    MICHAEL WALDFOGEL
                    823 18TH AVE
                    SEATTLE, WA 98122


                    MICROSOFT
                    ONE MICROSOFT WAY
                    REDMOND, WA 98052


                    NGUYEN BALLATO
                    2201 LIBBIE AVE
                    RICHMOND, VA 23230


                    SEATTLE ECON. DEVELOPMENT FUND
                    1437 SOUTH JACKSON STREET
                    SEATTLE, WA 98144


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                    SNOHOMISH COUNTY PUD
                    POB 1100
                    EVERETT, WA 98206


                    STEFANIE BENNINGFIELD
                    4280 E LAKE SAMMAMISH PKWY
                    SAMMAMISH, WA 98075


                    SUREPAYROLL
                    2350 RAVINE WAY SUITE 100
                    GLENVIEW, IL 60025


                    TANDEM FINANCE, INC.
                    3801 AUTOMATION WAY, STE 207
                    FORT COLLINS, CO 80525


                    US ATTORNEY GENERAL
                    US DEPT OF JUSTICE
                    950 PENNSYLVANIA AVE NW
                    WASHINGTON, DC 20530


                    WA ATTY GENERAL
                    BANKRUPTCY & COLLECTION UNIT
                    800 FIFTH AVE #2000
                    SEATTLE, WA 98104


                    WA DEPT OF L&I
                    COLLECTIONS
                    POB 44171
                    OLYMPIA, WA 98504


                    WA DEPT OF REVENUE
                    BANKRUPTCY & CLAIMS UNIT
                    2101 4TH AVE #1400
                    SEATTLE, WA 98121


                    WA EMPL SECURITY DEPT
                    UI TAX ADMIN
                    POB 9046
                    OLYMPIA, WA 98507


                    WASHINGTON COURTS
                    PO BOX 41172
                    OLYMPIA, WA 98504




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                    WELLS FARGO
                    POB 522
                    DES MOINES, IA 50306




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                                              Western District of Washington
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                                                              Debtor(s)                Chapter     7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SquareOne Services, SPC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
Jessica Whitehead




  None [Check if applicable]




May 22, 2023                                     /s/ Jamie J. McFarlane WSBA
Date                                             Jamie J. McFarlane WSBA #41320
                                                 Signature of Attorney or Litigant
                                                 Counsel for SquareOne Services, SPC
                                                 The Tracy Law Group PLLC
                                                 1601 Fifth Ave. Ste 610
                                                 Seattle, WA 98101
                                                 206-624-9894 Fax:206-624-8598




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